              Case 2:10-cr-00437-WBS Document 93 Filed 02/07/11 Page 1 of 4


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 3   (916) 444-3994
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 4
     Attorney for Defendant
 5
     MICHAEL LEONARD LOVATO
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-10-437 WBS
 9
                                                     )
                                                     )
10          Plaintiff,                               )       STIPULATION AND
                                                     )       [PROPOSED ORDER] CONTINUING
11
     v.                                              )       STATUS CONFERENCE
                                                     )
12
     AMADOR ELI ROSALES, et al.,                     )
                                                     )
13
                                                     )       Judge: Honorable William B. Shubb
            Defendants.                              )
14
                                                     )
                                                     )
15
                                                     )
16

17          IT IS HEREBY stipulated between the United States of America through its undersigned

18   counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for defendant

19   Michael Leonard Lovato, John R. Manning, Esq., counsel for defendant Michael Valentino

20   Lovato, Kelly Babineau, Esq., counsel for defendant Jonathan Gonzalez, Danny D. Brace, Jr.,

21   Esq., counsel for defendant Andre Kovacs, James P. Chandler, Esq., counsel for defendant

22   Amador Eli Rosales, Michael L. Chastaine, Esq., counsel for defendant Nicole Garcia, Donald P.

23   Dorfman, Esq., counsel for defendant Tony Rosales, Dan F. Koukol, Esq., counsel for defendant

24   Adrianna Cano, Mark J. Reichel, Esq., and counsel for defendant Derick Noble, Timothy E.

25   Warriner, Esq., that the status conference presently set for February 7, 2011 be continued to

26   April 18, 2011, at 8:30 a.m., thus vacating the presently set status conference.

27          Defense counsel requires additional time to review the voluminous discovery and

28   perform investigation. Therefore, counsel for the parties stipulate and agree that the interests of



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 1   justice served by granting this continuance outweigh the best interests of the defendants and the
 2   public in a speedy trial. 18 U.S.C. 3161(h)(7)(A) (continuity of counsel/ reasonable time for
 3   effective preparation) and Local Code T4, and agree to exclude time from the date of the filing of
 4   the order until the date of the status conference, April 18, 2011.
 5

 6   IT IS SO STIPULATED.
 7
     Dated: February 2, 2011                                        /s/ John R. Manning
 8                                                                 JOHN R. MANNING
                                                                   Attorney for Defendant
 9                                                                 Michael Leonard Lovato
10
     Dated: February 2, 2011                                       /s/ Kelly Babineau
11                                                                 KELLY BABINEAU
                                                                   Attorney for Defendant
12                                                                 Michael Valentino Lovato
13
     Dated: February 2, 2011                                        /s/ Danny D. Brace, Jr.
14                                                                 DANNY D. BRACE, JR.
                                                                   Attorney for Defendant
15                                                                 Jonathan Gonzalez
16
     Dated: February 2, 2011                                        /s/ James P. Chandler
17                                                                 JAMES P. CHANDLER
                                                                   Attorney for Defendant
18
                                                                   Andre Kovacs
19
     Dated: February 2, 2011                                       /s/ Michael L. Chastaine
20                                                                 MICHAEL L. CHASTAINE
                                                                   Attorney for Defendant
21
                                                                   Amador Eli Rosales
22
     Dated: February 2, 2011                                       /s/ Donald P. Dorfman
23                                                                 DONALD P. DORFMAN
                                                                   Attorney for Defendant
24
                                                                   Nicole Garcia
25
     Dated: February 2, 2011                                       /s/ Dan F. Koukol
26                                                                 DAN F. KOUKOL
                                                                   Attorney for Defendant
27
                                                                   Tony Rosales
28




                                                       2
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     Dated: February 2, 2011                          /s/ Mark J. Reichel
 1
                                                      MARK J. REICHEL
 2                                                    Attorney for Defendant
                                                      Adrianna Cano
 3
     Dated: February 2, 2011                          /s/ Timothy E. Warriner
 4
                                                      TIMOTHY E. WARRINER
 5                                                    Attorney for Defendant
                                                      Derick Noble
 6

 7

 8
     Dated: February 2, 2011                          Benjamin B. Wagner
 9                                                    United States Attorney
10
                                                by:   /s/ Jill M. Thomas
11                                                    JILL M. THOMAS
                                                      Assistant U.S. Attorney
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 7
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                      ) No. CR-S-10-0437 WBS
10
                                                    )
                                                    )
11          Plaintiff,                              ) ORDER TO
                                                    ) CONTINUE STATUS CONFERNCE
12
     v.                                             )
                                                    )
13
     AMADOR ELI ROSALES, et al.,                    )
                                                    )
14
                                                    )
            Defendants.                             )
15
                                                    )
                                                    )
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                                                    )
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            GOOD CAUSE APPEARING, it is hereby ordered that the February 7, 2011 status

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     conference be continued to April 18, 2011 at 8:30 a.m. I find that the ends of justice warrant an

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     exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for

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     effective preparation exceeds the public interest in a trial within 70 days. THEREFORE IT IS

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     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. 3161(h)(7)(A) and Local

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     Code T4 from the date of this order to April 18, 2011.

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     IT IS SO ORDERED.
     Dated: February 7, 2011
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                                                     4
